  Case 18-08362      Doc 46    Filed 09/06/18 Entered 09/06/18 14:36:01              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      18-08362
MICHAEL A. PELLEGRINO,                       )
                                             )               Chapter: 7
                                             )
                                                             Honorable LaShonda Hunt
                                             )
                                             )
               Debtor(s)                     )
                      ORDER COMPELLING MICHAEL A. PELLEGRINO
                             TO COMPLY WITH DISCOVERY

       This cause coming on to be heard on the Motion of Michael Hand (“Hand”) for the entry of an
Order compelling Michael A. Pellegrino (“Pellegrino” or “Debtor”), debtor herein, to comply with
discovery (the “Motion”), due notice having been given and Pellegrino failed to appear at the
September 6, 2018 hearing,the Court having considered the Motion, the record of the case and
statements of counsel in support of the Motion and otherwise being fully advised in the Premises:

  IT IS HEREBY ORDERED:

  A. The Motion is granted;

  B. Michael A. Pellegrino, be and he hereby is directed to respond to Hand's First Request for
Production on or before October 4, 2018;

  C. This matter is continued to October 25, 2018 at 10:00 a.m., for status on Pellegrino's compliance
with this Order.

                                                         Enter:


                                                                  Honorable LaShonda A. Hunt
Dated: September 06, 2018                                         United States Bankruptcy Judge

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